        Case 07-02864-JJG-7A                 Doc 132        Filed 08/24/19          EOD 08/25/19 00:24:03                Pg 1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Indiana
In re:                                                                                                     Case No. 07-02864-JJG
Thomas Andrew Gravelie                                                                                     Chapter 7
Tamera Schmidt Gravelie
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0756-1                  User: admin                        Page 1 of 1                          Date Rcvd: Aug 22, 2019
                                      Form ID: sgeneric                  Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 24, 2019.
db/jdb         +Thomas Andrew Gravelie,   Tamera Schmidt Gravelie,   5693 W. 73rd Street,
                 Indianapolis, IN 46278-1739
acc            +BGBC Partners, LLP,   300 N. Meridian Street, Suite 1100,   Indianapolis, IN 46204-1736
cr             +Blue Haven Pools,   1739 N. Country Club Road,   Indianapolis, IN 46234-1828
cr             +Cara Lynne Grumme,   10924 Eaton Ct.,   Fishers, IN 46038-4738
cr             +Christopher Christensen,   117 E 37th Street #372,   Loveland, CO 80538-2306
acc             Fouts & Co., LLC,   400 Marott Center,   342 Massachusetts Avenue,
                 Indianapolis, IN 46204-2161
cr              eCAST Settlement Corporation,   POB 35480,   Newark, NJ 07193-5480

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: lweidhaas@dyckoneal.com Aug 23 2019 00:01:19     Dyck-O’Neal, Inc.,
                 P O Box 13370,   ARLINGTON, TX 76094-0370
cr             +E-mail/Text: bankruptcy@huntington.com Aug 23 2019 00:01:17     Huntington National Bank,
                 P.O. Box 89424,   Cleveland, OH 44101-6424
cr              E-mail/PDF: rmscedi@recoverycorp.com Aug 23 2019 00:02:15
                 Recovery Management Systems Corporation,   25 S.E. Second Avenue,   Suite 1120,
                 Miami, FL 33131-1605
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 24, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 22, 2019 at the address(es) listed below:
              Elliott D. Levin   robin@rubin-levin.net, edl@trustesolutions.net
              Julia Martene Andrews1   on behalf of Creditor   American General Financial Services, Inc.
               bkmonitor@bbanda.com
              Richard W Lorenz, Mr.   on behalf of Creditor   Fieldstone Center of Indy, Inc.
               lgreenwell@hickamlorenz.com, G16802@notify.cincompass.com
              U.S. Trustee   ustpregion10.in.ecf@usdoj.gov
                                                                                            TOTAL: 4
   Case 07-02864-JJG-7A       Doc 132 Filed 08/24/19 EOD 08/25/19 00:24:03      Pg 2 of 2
                              SO ORDERED: August 22, 2019.




                              ______________________________
                              Jeffrey J. Graham
                              United States Bankruptcy Judge

                           UNITED STATES BANKRUPTCY COURT               SGENERIC (rev 06/2019)
                                 Southern District of Indiana
                                  46 E. Ohio St., Rm. 116
                                   Indianapolis, IN 46204
In re:

Thomas Andrew Gravelie,                                Case No. 07−02864−JJG−7A
Tamera Schmidt Gravelie,
           Debtors.

         ORDER DENYING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

An Application for Payment of Unclaimed Funds was filed on June 11, 2019, by Creditor
Cara Lynne Grumme.

IT IS ORDERED that the Application for Payment of Unclaimed Funds is DENIED.

The Clerk's Office will distribute this order.

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